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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )                8:15CR112
                                              )
      vs.                                     )                 ORDER
                                              )
CHAD BURNS,                                   )
                                              )
                    Defendant.                )


      This matter is before the court on the motion of defendant to review detention (Filing
No. 45). Defendant is scheduled for a change of plea hearing before Senior Judge Joseph
F. Bataillon on June 11, 2015. The motion is denied and may be reasserted before Senior
Judge Bataillon at the change of plea hearing.


      IT IS SO ORDERED.


      DATED this 28th day of May, 2015.


                                                  BY THE COURT:


                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
